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       Nally, et al. v. Graham, et al.



       Exhibit A to
Plaintiffs’ Complaint for
 Civil-Rights Violations
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                                                                   U.S C:iS'HICT COURT
      f /i
       I•                                                                        Fi LCD

       I                                                           DJSTF:Jc1' n;:
                               T.N THE UNITED $Ti\.TES DISTRICT COU!(T
                                                                                  II' il/",'S
                                                                              ,. "·"•    ""
                                     FOR THB DISTRICT OP KANSAS
                                                                  SEP IS ! 411 1   I      AH 89
                THI INDIAN LEADER ASSOCIAT�ON, BT AL.,
                                                                   RJ-.L r ;:

                                         Plailltiffs,



                UNITED STATES DEPARTMENT       or   THE INTERIOR,
                BT AL.,




                   NOW ON thia 18th day of September 1969, tha paxtie� appear
             befo,:e the Court. to ai,nounce a 'lattlement of the cl.aims of the
             Plaintiffe h■rain, The Plaintiffs appear through their attorney,
             Patrick R. Niohol11 the Defendant, appear through their attorney,
           I David Cooper.
           I     WHEREUPON, the partia■ announce to th1 Court that thay have
           1ettlad and ra■olvad thair diffarenaea, and ent■rad into a
           l

       1:
       i'. 11ttlemant airaemant in writing, whiah i• appended hereto,
       !I
                 WHEREUPON, the Plaintiffs move orally to dismiss w!.thout
           praj11dice all partlea hirato, with the exception of Ea■kaJl Indian
           Junior Collega. rne Court 1u■t■ina �aid motion.
                     THEREUPON, t�e Court xeviews the �ettlement agreement between
                the parties, guar�nteai11g the rights of :f.i:o,e •icpreirn:lon to the
                Indian La&dur A•sociation an� th• atud■nt journa111t Plaintiffs,
                and find saJ.d agreement is valid, just 11nd equitable,       The Court
                approvea the agreement,

                       Pur,n.rnnt to paz-agraph 14 of the settlement agreement, the
                 PlaJ.ntiffs movl'l to dismiss t.ha remaining party, Haskell Indian
                                                                                                       I
                                                                                                       i
                 Junior College of the Bun,au of Indian Affairs, subject to ·the'
                 provisions and terms of the settlement agreement,        The court
                 sustains tha motion and order■ that the action ba diemia■ad upon
               ? the tf;!1.·ms of said motion�
                                                                                                       i
                     The Court orders that her,;aft<1r the ,,.,ttlement agreement shall I
                immadiataly bind the parties to all of its provisions and govern!
                their conduct accordingly.
                                                                                        I
                                          _Isl RICHARO D. Rq_<�£RS ------·---------�-
                                          Honorable Rtchard O. Eogars
                                          United State Di■trict Judge




        20' 391:Jd


Exhibit A to Plaintiffs' Complaint                                                           1 of 19
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            APPROVED:




           Attorney at Law
           700 Jackson, Suite 703
           Topeka, Kansas  66603
           ( 913) 357-4050
           Ks. S. Ct. No. 09396
           Attorney for Plaintiffs




           �&'·�
           Assistant United States Attorney
            u.s. Department of iustice
            444 S.E. Quincy
            Topeka, Kansas  66603




Exhibit A to Plaintiffs' Complaint                                      2 of 19
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                                     SETTLEMENT AGREEMENT
         This Settlement Agreement is made between the Indian Leader
   Association, Marcel Stevens I Laurey Chi:iJ!.llJ'"'Q,_ h,r_dina...G.l.erm, .. Cynth-ia -
   Grant, Tina--Melton,-1i-a:rv-e-y-Ross;-.
             -                             cordell Whitetree and Catherine
   Willi.am6 and Haskell Indian Junior College of the Bureau of Indian
   Affaire of the Dnited States Department of Interior t:o settle and
   compromise issues before the United States District Court for the
   District of Kansae in Indian Leader Association v. United States
   pepartment of the Interio:r;., Case No. 89-4063-R (filed March 30,
   1989),
          L     l'a.rties to settlement Agreement,   The parties to this
   SettJ.e1:1ent Agreemer,t are the plaintiff, Indian Leader Association,
   an unincorporated student association which publishes The Indian
   Leader (the "Association"), and plaintiffs Marcel Stevens, Laurey
   Chapman, A:rdina Glenn, Cynthia Grant, Tina Melton, Harvey Ross,
   Cordell Whitetree and Catherine Williams, individually and in their
   capacities as editors, reporters and representatives of the
   1'.ssociation ("Plaintiffs"), and defendant Haskell Indian Junior
   College of the Bureau of Indian Affairs of the United States
   Department of the Interior ("Haskell"), which enters into this
   Settlement Agreement through the agency of Jim Bake:i:·, Acting
   President of Haskell,
        Nothing in this Settlement Agreenent shall have any bearin9
   on the academic standing of the named plaint.iffs or /c'.ny rnen,ber of
   the Indian Leader Associat.ion. Nor shall this Settlement Agreement
   bear on the eligibility of a student to serve as an officer of the
   Indian Leader Association under the colleg,a' s r·u1es governi YlSJ
   extracurricular activities.
        2.  Student Ed1to:cial Control.  The parties           that the
   members of the Association and the Editorial Board     '.l:he Indi,rn
   Leader have the right to editorial control of the content!? of The
   Indian Leader newspaper as described in the attached Plan -of
   Operation of the Indian Leader_Assaciation ("Plan of Operation"),
        3. No Prior RE!straint or Censorship. Haskell agrses that no
   officer, agent, instructor or employee of Haskell ehall:

               (a) censor, edit or modify the contents of �T�h�e----'I�n�d�i�a=c
                                                                               n·
             newspaper in violat.lon of the First Aruend,11ent of th'il United
             Constitution;

              (b) restrain, obstruct or prohibit the publication of 'l'f1!
   Indian Leader newspaper or otherwise inhibit th,� free expressTon
   o::: members of the Association in violation of the First Amendment
   oi the United States Constitution; hawsve:c, nothing in thiif;
   Settlement Ag.reernent shall prevent Haskell, the BIA, t;he Depai:·tment: .
   of the Interior, o:i:· Congress from withdrawing any federal. funding
   for ]Jie Indian Leader, or from dispoeing of the pr.inting press on
                                              1




Exhibit A to Plaintiffs' Complaint                                                       3 of 19
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   the Haskell campus pursuant to the provisions of the Federal
   Property and Administrative services Act or other applicable law;
                      ( c) suspend the publication of The Indian Leader newspaper
   on--,--1;d,ec-1l1;ounct-,--t-ha-t;----a-,---vacan-ey--h-a-s�acr±sen-,1:n~As-he,-�w0,s-.lct~:kefl--c,o-f--.-tacc1.1l-tif- --�------ --�-­
   adv is er to the lndian Leader newspaper or the Association,
            (d) refuse any written request for the disbursement of
   funds, reasonably related to the management or publication of The
   Indian Leader, from the Indian Leader Asi:sociation Activity Fund,
   the Club Fund or any other !ndian Leader Association account
   containing student monies in the Haskell Student Bank which is
   supported by a written resolution of the Editorial Board of The
   Indian Leader or the full membership of the Association finding
   "First Amendment Grounds for Funds· Withdrawal by Students'' as
   described in the attached Plan of Operation;
                (e) refuse to approve a Plan of Operation for the
   Aesociation substantially similar to the attached Plan. of
   Operation, which is incorporated herein by reference and made an
   integral part hereof, and which shall be the Plan of Operation in
   effect for the 1989-1990 school year, or suspend the publication
   of ':f.'he Indian Leader on the grounds that the Plan of Operation has
   not been approved; provided, that nothing in this Settlement
   Agr<,;ement shall prevent Haskell from establishing a journalism or
   communications department and incorporating The Indian Leader into
   th,, curriculum of s1.1ch an academic program; that if such an
   academic program is established, - Haskell and the members of The_
   Indian Leader Association may revise the Plan of Operation of The
   Indian Leader Association to reflect incorporation of The Indian
   Leader under the curriculum of that program; provided further, that
   nothing in this Settlement Agreement is intended to prevent the
   members of The Indian Leader Association from adopting a Plan of
   Operation, or other o:cganic operating charts or substantially
   dissimilar to the attached Plan of Operation; ox:

               (f) have the right to excise any material from The Indian
   Lea.de:r: on the grounds_ that it is eithex· libelous or obscene.

            4,  Role of Faculty Adviser, '.11 he parties agree that the
   ;f;aciJl ty adviser shall discharge his or her responsibilities
   consistent with the following guidelines:
              (a) The faculty adviser to the Association may freely
   advise and inztruct student editors and reporters in the subject
   of journalism and relevant pro.fessional standards, commend and
   critig1.1e the work product of student journalists, offer fiscal and
   technological guidance to the newspaper staff in business and
   production operc1tions and provide whatever assistance to the
   newspape:r and the student journalists the faculty adviser deems
   appropriate,

                                                             2




Exhibit A to Plaintiffs' Complaint                                                                                      4 of 19
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                              (b) A faculty adviser may make nonbinding recommendations
                 ta the student editors which they may, in .their sole discretion,
                 take into consideration in the free exercise of their independent
                                            .
.........-· -- __JidLt_or.ia.L-j.ud.gmentc..--��--��-�.
                  ( c) Al though a faculty adviser of the Association may
        freely offer advice and assistance to student members of the
        Af!eociation, neither the faculty adviser nor any other Haskell
        officer or employee has the right to censor, edit or modify in any
        way the content of The Indian Leader,
                 (d) The faculty adviser is under an affirmative duty to
        facilitate the disbursement of such funds allocated to the
        Association as directed by the Editorial Board and the Association
        by majority vote, supported by written i:-esolution, which are
        reasonably related to the management and publication of 'l1 he J;ndian
        Leader.
                 (e) The faculty adviser shall, to the best of his or her
        ability, adhere to the ethical standards set forth in the attached
        Code of Ethics of College Media Advisers,

                        5.   Responsibility of Student Journalists, Sole legal
         responsibility for the contents of 'I'he Indian Leader shall rest
        with the individual members of the Indian :Leader Association as
         recognized in 25 C.F.R. s 42,3 (1988), No legal responsibility for
         the contents of The Indian Leader shall be imputed to Haskell or
         the faculty adviser, the Burea1.1 of Indian A;efai:r:s ox· the United
         States Department of the Interio;c ,. Plaintiffs undcJrstand that they
        may be held personally accountable for the contents of The Indian
        .f:.".':!'l!i'!:E in a court of law, if those contents are 1 ibelous or
        obscefie, or infringe copyrights or trademarks, or otherwise give
        rise to civil liability.
              6. Newspaper Account in the Student Bank. '.!'hose monies which
        may be received or collected by Haskell on ·behalf of the
        Association, such as the Association's allocation of student
        activity fees, if any, shall be maintained in the Haskell Student
        Bank in strict compliance with the applicable rules contained in
        the Bureau of Indian Affairs Manual ("BIAM"), this section of th<'!
        S,,ttlement Agreement and the Plan of Operations. Such monies shall
        be1

                 (a) the subject of a separate accounting in the Haskell
        Student Bank and assigned a separate.account number;

                 (b) the subject of a monthly account statement prepared
        by the Haskell Student Bank which shall be presented to the
        President of the Indian Leader Association; and
                 ( c) disbursed in accordance with this Settlement Agreement
        and the attached Plan of Operations.
                                                 3




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      Exhibit A to Plaintiffs' Complaint                                                  5 of 19
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              7. Off-Campus Bank Account. Those monies which are received,
    collected or raised off campus by the Association, without any
    lntermediation by Haskell, may be depo6ited, at the election of t.hl;;lfa�---�i
-���AJ,J,.o.c�.i.a,�iGn�bfl-e±tcher�ttre-S't:Uc:l!i!nt Banlf account or in an off-campus j
    account maintained at a local .bank in Law:cence, Kansas.                         No
    disbursement f:com an off-campus bank account shall be made,
    however, without the signatu:ce of at least two officers of the
    Association on the d:caft drawn on such local bank.· A copy of the
    monthly accoL1nts of such off-campus bank account shall be published
    regularly in The Indian Leade:c.                      Nothing in this Settlement
    Agreement 5ha11 be read to prohibit Haskell f:i:·om devisl.ng and
    implementing procedures for managing and accounting for on-campus
    revenue-raising activities of students.
               8. Elections. As soon as possible following the execution
        of thJ. s Settlement Agreement, the President of the A,:,sociation
        shi'\ll call a meeting of the membership of the Association for th.$
        purpose of electing the editors of The Indian Leader and the
        officers of the Association for the 1989-1990 academic year. This
        meeting shall be called within the first 30 days of the beginning
        of the fall 1989 semester at Haskell.
             9,    Control of Contributions for Subscriptions.     Voluntary
        contri.butions made by individuals for subscriptions to The Indian
        Leader shall no longer be paid to the Haskell Indian Junl.or College
        Foundation and shall instead ba paid directly to the Association
        Club Account 1.n the Student Bank.

                 10. Waiver of Clal.ms. This Settlement Agreement repre1"ents
        the final underc1tandin9 between the parti.e,J conc,,i::·ning the
        resolution of the issues before the United States District Court
        fer the Distrl.ct of Kansas in Indian Leader Association v, United                       '
        ft�1.;tE,P; DeJJartment of Interior,. Case No. 89-·-4063--R (filed March 30,             i
                                                                                                 I
        1989), All parties to this Settlement. Agreement hereby release the                      I
        others from any claims or causes of act,ion, and the partl.e5 and
        their coun.sel agree not to initiate or cause to be initiated, any
        fui:ths,:t· proceedings between any of the parties or their counsel,
        or rnale;e any further reguesta regarding the facts of thi:, case.
                11.   Covenant of Good Faith and Fa.ir Dealing,    The p<l:r:ties
                                                                                                 I;
                                                                                                 I
        agr,,e t<� interprat and implement this Settlement Agreement in good
        f<1i.t.h and with due regard for both the first Amendment right6 of
        student      journalists   and   the   legitimate    educatJ.onal     and
                                                                                                 ''
                                                                                                 • I
        .�dm1nl.strative interests of Haskell. :tt is the central purpose of
        this Settlement Agreement to secure the regular publication of 'rhe
        Jndian Leader free from any prior :i:estraint or censorship, This
        Set.tl.,ment Agreement is contingent upon the reciprocal performance
        of the specified obligations by all of the parties. In the event
        that any party acts in bad faith or breache1> this Settlement
        l1.g:ceemcmt, the aggrieved party shall be free to pursue appropriate
        legal remedies in a cou:r.:t of law.      Nothing 1.n this settlement

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      Exhibit A to Plaintiffs' Complaint                                               6 of 19
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Agreement shall be construed to restrict or lJ..mit the right of any
of the parties to commence litigation if any party fails to comply
with all of the terms and conditions of this Settlement Agreement,
     12_,_JJ:s,e_o,f-P=ic11A;J.~n<iJ-P.iee,&�'Iche�a·:t'�e,s-a,fr-e-e-t"rra·t:-t·l-Tff"""n's··=-----i
of the federally authorized printing press at Haskell is subject
to the Government Printing and Binding Regulations published by the
Joint Committee on Printing of the u.s, Congress, see 44 U.S,C.
§§ 103, 501, 502,
       13. Recognition of Mutual Rights. Any and all rights and
responsibilities under this Agreement are set forth in recognition
of the mutual rights of the defendant Haskell, and the rights of
the students to free speech, press and expression, The Agreement
recognizes various rights of Haskell hereunder to alter the Plan
of Operation in conjunction with the student journalists (3)(8),
to reduce or eliminate funding (3)(b), and to dispose of or sell
the printing presses under various provisions of this Agreement
 ( 12). '.rhese rights may not be exercised by Haelrnll in response to,
or as a result of, articles, photographs or any other content of
The Indian Leader. Further, such actions may not legitimately be
performed under this Agreement as a form of prior restraint, or
otherwise as intended to limit or restrict the free expression of
ideas or rights to the students as recognized in this Ag.r.eement.
Any exercise by Haskell of the rights noted in this paragraph shall
be done following notice to The Indian Leader Associat:i:.9.n, stating
the action to be taken and the reasons therefor. Such notice shaJ.l
be delivered to the editor-in-chief and posted on the Student
Jl,ctivities bulletin board at least thirty (30) days prior to any
such contempJ.ated action.
       14, Signature and Court Approval. This Agreement shall be
signed by all the parties named in Section l of this Settlement
Agreement or their duly authorized representatives.           Thia
Sf fttlement Agreement shall be submitted to the Honorable Richard
D, Rogers, Judge for the United States District Court for the
Di.st:cict of Kansas, for final appr:oval and shall not become
effective until such final approval is obtained, After such final
approval has been obtained, the Plaintiffs shall agree to the
dimnissal without prejudice of the action against all named
                                                                                                         I
                               The Settlement Agreement shall then
                                                                                                         I
defendants except Haskell,
J.mxnBdiately bind the remaining parties to all of its provisions,
and a judgment of dismissal of the action, subject to the terms of                                        I



thB Settlem,mt Agreement, shaJ.l then be jointly submitted to the                                        Ii
                                                                                                        '!I
court by the remaining parties.

     IN WITNESS WHEREOF, the parties have caused this Settlement

                                                                                                              I
Agreement to be executed by their duly authorized representatives
on this _____ day of _______ , 1989.



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Exhibit A to Plaintiffs' Complaint                                                        7 of 19
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                   �¥��6#:�:�;�-$:�R�:���
--�--c��H�E���:���D�:                                                                                :
      Managing Editor and President                                    Acting President           ;



               !Zdto ed0/41�                                        AJaJJk[m. �
      The Indian Leader Association                                   Haske   ll India n  Junior Colle ge



               CYN'PUA GRAN'r                                      DAVID M. COOPER
               Student Journalist                                   Assistant U.S. Att ney
                                                                     Counsel for the Defendant

               -tlui
               HARVEY�
                                 �

                       � ' �='A-/
               Student Journalist


                         ,
               ,ORDELLWIETREE
               ��
                                          f/ �
               Student Journalist


              ��Ro�
               DARIO F. ROBERTSON
                                  -2-.
               Counsel for Plaintiffs




               PATRICK R, NICHOLS.
               Counsel for Plaintiffs


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        Exhibit A to Plaintiffs' Complaint                                                             8 of 19
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                           THE INDIAN LEADER ASSOCIATION
                           Haskell Indian Junior College
                               Lawrence, Kansas 66046


  I,       NAME

       'I'he name of this organization is The Indian Leader Association
  and shall hereafter be referred to as the Association.
   II.     PURPOSE
       The purpose of the Association is to produce The Indian Leader
  newspaper, an independent student publication, and the Haskell
  Yearbook.    The Indian Leader newspaper will be p:i:'oduced and
  published approximately six times each semester and the Haskell
  Yearbook will be produced and published the spring semester of each
  school year. The Association will also maintain a separate account
  to accept funds and donations on behalf of the newspaper and for
  disbu;;sing Ca$h payments as incentives to students who contribute
  articles, photographs and illustrations to The Indian Leader,
       'I'he Indian Leader is a nationally distributed Native American
  newspaper edited and published by students at Haskell Indian Junior
  College for the purpose of promoting the free and informed debate
  and discur;s ion of ( 1) topics of special interest to Haskell
  students and alumni, ( 2) issues of epecial importance to Native
  Americans generally and (3) all newsworthy topics and public issues
  of general interest to American citizens,
           'I'he lndian Leader is published by the students at Haskell
   :tndian Junior College and the members of the A.r,sociation in the
  ,,,,xcsrctse of their individ1,al rights to free speech and freedom of
  thi;c, press guaranteed by the First .Amendment of the United States
  Constitution. These fundamental First Amendment rights have been
  eiiprt,ssly recognized as rights which individual students enjoy who
  attsnd Bureau of Indian Affairs schools in Part 42 of Title 25 of
  the Code of F.'ederal Regulations. Student Rights and Due P;r:ocess
  P1:0<�ed1,res, 25 C.F.R. § 42.3(e)-(f) (1988).      These basic rights
  have also been reaffirmed in Part !XI of the Code of Student Right�_
  5!:nd Responsibilities of Haskell Indian Junior College (1988),
          /The :Cndian Leader Association is committed to improving the
  ,,bility of Native Americans to determine their own destiny by
  p,r.-oviding an open public forum in which all concerned citizens,
  regardless of race, creed, color, sex, religion or national origin,
  might freely discuss the important public issues of the day. The
  r'.\embers of the Association believe that by providing such a public
  torum,      readers and contributors alike will improve their
  understanding of the true meaning of leadership, citizenship and
  democracy in contemporary American society through an open, honest
                                         1




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   and fair-minded exchange of views.
   III, MEMBERSHIP AND OFFICERS OF THE ASSOCIA'fION
         A,     General
         To qualify as a member o-f the, Association, an individual must 1
                (a)   be   an enrolled student at Has)rnll . Indian Junior
   College;

              (b) submit a news story, essay, proposed editorial, poem,
   short story, photograph or any other journalistic or literary work,
   not including advertisements, letters to the editor and notices,
   for publication in The Indian Leader, or participate in the
   prod1.1ction or circulation of The Indian Leader or the Haskell
   Yearbook.
            (c) receive written notice that the submission has been
   accepted for publication in The Indian Leader; and
            (d) inform the Association, orally or in writing, of an
                                                                 ··
   intention to become a member of the Association i

        'rl"ie Editor-,in-Chief shall be responsible for keeping a current
   list of Association members and publishing said list at least once
   per semester in The Indian Leader,

             In the event that any member fails to attend three consecutive
   meetings of the Association, without exc11se, that parson may be
   removed from the m.,,mbership ro:Ll.& of the Association by majority
   vc:1ti2i.
         l:l,   Officers
          The officers of the Association shall include a President,
  Vice P1.'esident, Treasurer and Sec:r:etary.     'rhe person elected
  Pres.1.dent of the Association shall also serve as Editor-in"Chief
  of '.l'he Indian Leader and the person elected Vice-President shall
  also serve a.s Ex.ecutJ.ve Editor of The Indian Leader.
          Officers must maintain "academic good standing, " as defined
   on po,ge 35 of the Haskell Bulletin, 1988-1990, in order to receive
   .�, sa�ary as specified in Appendix I containing the 1989-,1990 Budget _
    fen: The Indi,;n Leader. Decisions made at duly convened meetings
   of the Association are binding on members.
     ' All officers of the Association shall have taken or shall be
  our:cently enrolled in at least one course in English or Journalism
  at Haskell Indian Junior College at the time his or her term of
  office shall commence in order to be eligible to hold such office.

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       SO. 3S<tld




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           The President shall be the Editor-in-Chief and shall be
      responsible for the general operation of the paper and the
      Association.  The President shall pick up and distribute mail                     • /
      dail
----:��   -----------��
      'l'he Editor-inQChief shall conduct       -and
                                          regular      --:--:--
                                                  -:--special    .,,-,-- J.11
                                                              meetings -- •11-
     of student reporters, assign stories, edit manuscripts, oversee       •            Ji
     reporters and lay out The Indian Leader.                                            .,
          The Executive Edito:r: shall assist the Editor-in-Chief in
     carrying out his or her assigned duties and shall succeed to the,
     position of Editor-in-Chief in the event of a vacancy in that
     office prior to next regularly scheduled election,
             ':l'he circulation manager shall ( 1) recommend to the printers
     the approximate number of issues of the newspaper to be published,
      (2) coordinate the distribution of issues on the day of
     publication, ( 3) maintain a cur:r:ent mailing list, ( 4) make                    . I

     <\deli t.ions, deletions, corrections and othe:r: appropriate changes in          ;.I
     mailing list, (5) make labels or have labels made, (6) coordinate                 .. I


     the process of labeling The Indian Leader for mailing, (7) keep a
     fih, of correspondence, and ( 8) make a weekly report I oral or
     written, to the Association.
          Other positions in the Association shall be established upon
     the majority vote of the members of the Association,            The
     Association shall make the guidelines and presc:r:ibe the duties of
     all new positions, Officers may be removed from office upon the
     vote of two-thirds of the members of the Association.
      IV,     PARLIAMENTARY AUTHORITY

          The rules contaln\'.d in the ourrent edition of Robert's Rules
     of Order Newly Revised shall govern the Association in all cases
     to which they are applicable and in which they are not lnconsistent
     with this Plan of Operation and any special rules of order the
     Assooiation may adopt.
     v.       MEETXNGS
          Meetings of the Association shall be held weekly and will be
     open to all. Haskell students and to the public.
          · 1'.t the beginning of each semester, the Association shall
     decide upon a clay, time and place for such :regular weekly meetings.
     011ce the day, time and place has been decided by the Association
     and notice of such has been posted on the bulletin board at the
     Student Senate Building, no further notice shall be required for
     the Asr;ociation to conduct business a.t such regular weekly
     meetings.
              Any meeting of the Association not held on the day, time and
                                           3




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      place of the regular weekly meeting may be properly convened only
      upon three days' prior w:citten noti,,e. such notice shall be made
      to the Association by posting an announcement of the meeting on The
      Indian Leader Bulletin Board. This notice requirement shall apply
      to any meeting of the Association, other than regular meetings,
-----;�e,J;.e.:i;,e-Ree a-:i:R-t;.t-i-s-P-J:.a·l'l-e+-ere"ea�ic®·l'l-1 -:i:-Re-l-1:1:a�•fl•<;1-a'11-t-Re4;.-l-i,.m-i-t,1,1G\-i;,".' ------,
     meetings mentioned in Sections III(B), VI and VIII(B) of this Plan
      of Operation.
                  A majority of the members of the Association shall constitute
      a quorum.
              VI.     EDITORIAL BOARD AND EDITORIAL CONTROL
                   The Editorial Board shall consist of the Association l'res.ldent
              and Editor-in-Chief, the Vice President and Executive Editor, Copy
              Editor, the Circulation Manager, and the Darkroom Manager. Other
              positions and members of the Editorial Board may be added by
              majority vote of either the Ed.ltorial Board or the members of the
              Association.   A majority of the members of the Editorial Board
              shall const.ltute a quorum.
                   The Editorial Board shall have primary responsibility for and
              control of the editorial content of 'I'he Indian Leader, Day-to-day
              editor.lal decisions shall be made by the Editor-in-Chief, but any
              question of editorial policy may be put to the vote of the Board
              of Editors at any regular or special meeting of the Board of
              Editors.

                   In the event that the faculty advise;,;, any member of the
              Editorial Board or any member of the A.ssociation requests I pr:ior
              to publication, a $pecial. review of any portion o:f an issue of !h�
              Indian Leader to determine whether i.t ls libelous or obscen(e, the
              entire Editorial Board shall:
                       (a) carefully read and evaluate the identified material
              to determine whether J.t is 1.lbelous or obscene;
                        (b) seek the advice of the faculty adviser and, 1f
              possible, experts in the field of student press rights and the law
              of libel and obscenity, such as legal counsel and jo1u:·nalists
              de;,ignated by the Student Press Law Center in Washington, D. C. , the
              Journal1sm Education Association or College Med.la Advisers: and
                        (c) consult, when appropriate, autho:citat.lve treatis�,s for -
              mor� detailed guidance in determining whether th,� identified
              materJ.al is li.belous or obscene, such as:
                            ( 1) Louis E, Ingelhart, Freedom for the                                         College
              Stud�nt Press (Westport, Conn,; Greenwood Press, 1985):                                        125-151
              (on l.lbel), 159-168 (on obscenity); and
                                   ( 2) Student Press Law Center:, Law of the Student Press
                                                                  4




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   (Washington, D,C.:   Student Press Law Center, 1985)    1   31-38 (on
   libel), 38-41 (on obscenity);
                 d make a final inde endent determination of whether to
   pubiis      the i entified material; and
            (e) report its determination to the faculty adviser within
   24 hours following such decision.
        Any student who has submitted an article for publication may
   withdraw that article prior to publication upon reasonable written
   notice to the Editor-in-Chief, provided that such withdrawal can
   be accomplished without a substantial delay in publication,
   VII, FACULTY ADVlSER
        One or more faculty advisers may be appointed by H,wkell
   Indian Junior College to assist students in the publication of The
   Indian Leader.

         '.l?he faculty ady-iser to the Association may freely advise and
   J_nstruct student editors and reporters in the subject of journalism
   and relevant pi:ofessional standardsi, commend and critique the work
   product of st,,dent journalists, offer fiscal and technologlcal.
   guidance to the newspaper staf:t; in business and productions
   operations and provide whatever asaistance to the newspaper and the
   student journalists the faculty adviser deems appropriate.
        A faculty adviser may make nonbinding recommendations to the
   student editors which they 111ay, in their sole discretion I take into
   consideration in the free exercise of their independent editorial
   judgment.

          Although a faculty adviser of the Association may freely offer
   1.,dvice and at:Jsistance to student 11\embers of the Associa.tion,
   neither the faculty adviser nor any other HaskeJ_l officer or
   employee has the right to censor, edit or modify in any way the
   content of The Indian Leader.
           The faculty adviser is under an affin11ative duty to facilitate
   the disbursement of such funds belonging to the Association as
   directed by the Editorial Board and the Association by majority_
   vot;;, 1 supported by written rf�solution, which are reasonably related
   to the management and publication of The Indian Leade:r;:,
        'rhe faculty adviser shall, to the best of his or her ability,
   adhere to the ethical standards set forth in the attached Code of
   Ethics of College Hedia Advisers.

        The right of the Association to publish The Indian Leader
   shall not be conditioned upon the prior appointment of a faculty
   adviser by Haskell Indian Junior College,          Consequently,
                                      5




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       publication of The Indian Leader shall not be interrupted as a
       result of the inability or unwillingness of Haskell Indian Junior
       College to appoint a faculty adviser to work with the Association
       in the event of a vacancy in that position,
_______,_,, e..,J_a cu lty_ru;l,;u.s�        r use to f ac i 1 it ate the
    disbursement of funds reasonably related to the management an
    publication of The Indian Leader as determined by the Editorial
    Board or the Association by majority vote.
       VIII. SALARIED POSITIONS OF THE INDIAN LEADER
                A.   Officers With Salaries
            Salaried positions in the Association shall be those of
       President, Vice President, Copy Editor, Circulation Manager,
       Darkroom Manager. The Typesetter shall also receive a salary.
                B.   Assistant Officers
              Assistant officers shall be elect�d by majority vote of the
       members of the Association at the beginning of the last semester
       prior to the graduation of each salaried officer of the
       Association. Such assistant officers shall serve as apprentices
       to the graduating office"·s for the purpose of raceiving the
       necess�ry training and experience to assume the responsibilities
       of the graduating officer after commencement.         The assistant
       officers shall assume . the office and responsibilities of the
       graduating officers on the date of the next commencemar1t at Haskell
       Indian Junior College following their appoJ.ntment as assistant
       officers. Any office not so filled by an assistant officer shall
       b,;i filled by majority vote of the members of the }u,sociation in a
       regular or special election.
       IX.      COMPENSATION AND AWARDS
                Compensatlon and awards shall be as specified in this Section
       vn:r..
              Salaried positions shall be compensated accord.lng to the rates
       and amounts specified in Appendix I containing the 1989�90 Budget
       for 'l'he Indian Leader. Students holding salaried positions shall
       not be paid any other compensation specified in this section,
           1student reporters shall be paid $1,25 per column             inch for
       articles published. Student photographers shall be paid           $5,00 for
       each photograph published. Student artists shall be paid          an amount
       to be determined by majority vote of the Association               for each
       published illustration or cartoon.
            The amount and disbursement of monies for any type of contest
       sponsored by The Indian Leader must be approved by majority vote
                                              6




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      Exhibit A to Plaintiffs' Complaint                                             14 of 19
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   of the Association,
   X.     ACCOUNTS
          h,   Activity Fund
        Any funds allocated to The Indian Leader Association from the
   student activity fee, paid by each student of Haskell Indian Junior
   College each semester, shall be deposited in The lndian Leader
   Association Activity Fund ;i.n the Student Bank.      Other monies
   received or collected by Haskell on behalf of the Association shall
   also be deposited in that Activity Fund.
        Any officer, editor or any other member of the Association or
   any currently enrolled student or alumnus of Haskell' Indian Junior
   College may, upon written request, examine the records of account
   of The Indian Leader Association Activity Fund in the Student Bank
   and may obtain a copy of any such records of account at his or her
   own expense.
        A summary of the records           of   account   shall   be published
   annually in The Indian Leader.
        In the absence of a finding by the Association of ''First
   Amendment Grounds for Funds Withdrawal by Students" as described
   in the following pa,ragraph, withdrawal from the Indian Leader
   Association Activity Fund shall be made by a faculty adviser,
   supported by signatures from a student member of the Editorial
   Board and the Association Presi.dent.
           Jn the event that the Association· or the Editorial Board
   passes by 2/3 (two-thirds) vote a resolution finding "First
   ,l\rnendment Grounds for r"unds Withdrawal by Students, '' withdrawal
    from the Indian Leader Association Activity E'und sh&,11 be made by
    President of Haskell Ir;idi.an Junior college, if the request is
   reasonably related to the management or publication of !he Indian
   Lea§er, supported by the signatures of the Association President
   and another member of the Editorial Board,          "First Amendment
   G:r:o,mds for Funds Withdrawal by Students" exist whenever Haskell
    Indian Junior College h�s failed to appoint at least one faculty
    adviser to the Association or whenever the Association, by 2/3
    (two-thirds) vote, reasonably determines that a faculty adviser ( 1)
    is in any way obstructing the publication of The Indian Leader, ( 2)
   refi1'ses to comply with requests from the Association or the
   editorial board £or disbursements reasonably related to the
   management or publ.ication of 'l'he Indian Leader, or (3) attempts in
   (1,ny way to censor, edit or modify the content of The Indian Leader.

     T
         Each withdrawal from 'l'he Indian Leader Association Activity
   J und must be approved by a majority vote of. the Editorial Board or
   the Association and supported by written resolution.       Each such
   :resolution must explain th1;, purpose of every withdrawal of funds.
                                       7




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       Receipts shall be collected within five (5) days following the
       disbursement of all funds, A full W:t'itten accounting of any monies
      withdrawn pursuant to a resolution finding "First Amendment Grounds
       for Funds Withdrawal by Students" shall be given to a faculty
_____,;.Q_\d� i£ there i.� adviser.                     o the President of
       Haskell Indian Junior College within five (5) days following the
      withdrawal transaction,
              Nothing herein binds the federal gover�ment (or Haskell) to
         spend federal appropriated funds to publish The Indian Leader.
                B,   Club Fund
               Money raised by members may, at the election of the
         Airnociation, be deposited into a Club Fund at the Student Bank or
         in an off-campus account at a local bank in Lawrence, Kansas, Such
         money may be withdrawn for (1) student entertainment, (2)
         contracting outside services and (3) such other uses benefiting the
         Association as the Editorial Board may, in its sole discretion,
         determine to be necessary or appropriate,

              :Cn the absence of a determination by the Association of "First
         Amendment Grounds for Funds Withdrawal by St.\1dents '' as described
         in the following paragraph, withdrawal from a Club Fund maint1:1ined
         at the Student Bank shall be made by faculty adviser, supported by
         signatures from any two student officers of the Association,
               In the event that the Association or the Editorial Board
         passes by majority vote a resolution finding "Firet Amendment
         Grounds for Funds Withdrawal by Students," withdrawal from the Club
         Fund shall be made by the President of Haskell Indian Junior
         College, supported by the signatures of the Association President
         and another officer of the Association, "First Amendment Grounds
         for F'unds Withdrawal by Students" exist whenever Haskell Indian
         Junior College has failed to appoint at least one faculty adviser
         to the Association or whenever the Aesociation, by majority vote,
         reaeonably determines that a faculty adviser ( 1) ie in any way
         obstructing the publication of The Indian Leader, (2) refuses to
         comply with requests .from the Association or the editorial board
         for disbursements reasonably related to the management or
         publication of The Indian Leader, or (3) attempts in any way to
         censor, edit or modify the content of The Indian Leader.
                Each withdrawal from the Club Fund must be approved by a
         rnajo:rity vote of the Editorial Board ,�:r the Association. and
         i,uppo:rted by w:ci tten resolution. Each such resolution must ex.plain
         the purpose of ever.y withdrawal of funds,          Receipts shall be
         collected following the disbursement of all funds, A full written
         accounting of any monies withdrawn pursuant to a resolution finding
          "J?in,t An1end1nent Grounds for Funds Wi thdrawa.l by Students" shall
         be given to a faculty adviser or, if there is no faculty adviser,
         to the President of Haskell Indian Junior College within five (5)
                                            8




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    daye following the withdrawal transaction.
          c.    Contributions for Mailed Subscriptions
        The Indian Lead!i:t; sha.Ll.-b.€1-Gl..i-s.t,.,,..:i,-l,,,\-.l·l=e'f:!-f'rwe-o-r-cl'l    o
   anyone interested in receiving a copy.                              Any person wishing to
   receive a mailed subscription to The Indian Leader will be asked
   to make a $5,00 contribution directly to The Indian Lei;ider


                                                                                                          \
   Association Activity Fund by check or money order.                                    The next
   edition of the Haskell Bulletin shall be amended to provide for the
   payment of such $5. 00 contributions directly into The Indi,m Leader
   Association Activity Fund, rather than the Haskell Foundc1tion, a
   tax exempt organization which has not direct relationship with and
   provides no funding to The Indian Leader Association.
          D,    Off-Campus Bank Account
        Those monies which are received, collected or raised off
   campus by the Association, without any intermediation by Haskell,
   may be deposited, at the election of the Association, in either the
   Student Bank account or in an off-campus account maintained at a
   local bank in Lawrence, :Kansai;;, NC/ disbursement from an off -: campus
   bank account shall be made, however, without the signature of at
   least two officers of the Association on the draft drawn on such
   local bank. A copy of the monthly accounts of such off-campl.lS bank
   account shall be published regularly in The Indian Leader.




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Exhibit A to Plaintiffs' Complaint                                                             17 of 19
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                                               APPENDXX l
                                                                                                  -
                                         BUDGET FOR 'l'HE INDIAN LEADER


            Position                             Salary                Times 12 Issues


•       Edito:r-in�Chief                   $33.50                           402.00
        Executive Editor                    33.50                           402.00
        Copy Editor                         33.50                           402,00
        Circulation Mana,ger                33,50                           402.00
        Darkroom Manager                    33,50                           402,00
        'l'ypesetter                        33,50                           402.00
        Assistant Circtilation              33.50                           402.00
       Assistant Darkroom                   33.50                           402.00
        Ass.lstant Typesetter               33.50                           402.00
        Freel_ance Compensation            500.00 (per sem.)           $1,000.00 (x2 s ern. )
        Miscellaneous                     300.00 (per sem,)               600.00 (x2 sem.)
        'I'r,:;1.vel Expense              750,00 (pe:r sem.)            1 1 500.00 (x2 sem.)

                               TOTAL   $3,158.00 (per sem.)            $6,718.00 (x2 sem,)




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                               PLAN OF OPERATION APPROVAL                   •'


           College Officials                                Date Approved

                                                 .    f?�</,.t-:=-1-/4__
    �fa>:L                                           �-/;

     DIREC'rOR OF STUDENT ACTIVITIES                 DATE



                                                     DATE


                                                            ·q / lS/ 8 9
     SPONSOR                                         DATE

          Organizatio� Officers                              Date Approved



     PRESIDENT                                       DATE




     VICE PRESIDENT                                  DATE




                                           11
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